In the court of Montgomery, seventeen persons were indicted for murder, in a quarrel between Herbert and Vaughan, and they were imprisoned. They were persons of such power and influence in the country that a jury could not be got to try them; whereupon Master Littleton moved for a certiorari
to have them tried in Shropshire, and alleged precedents in like cases. The court granted a certiorari, and the indictments being removed in the King's Bench, at Trinity term, he moved for an habeas corpora to remove their bodies also, which was granted. And at Michaelmas term afterwards the prisoners were bailed, although they were indicted for murder, which is contrary to the statute; which it was held is capable of a favorable construction at the discretion of the Judges, as in this case, because the prisoners were in danger of starving in gaol, and the trial could not be had soon. Pp. 118 and 166.